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GOLDENBERG, MACKLER, SAYEGH, MINTZ, roy ie. 2 A Ab 03
PFEFFER, BONCHI & GILL

A Professional Corparation

660 New Road, Suite No. 1-A

Northfield, Now Jersey 08225

(609) 646-0222 FAX (609) 646-0887

Attorneys for Plaintiff, Cherokee Solutions, Inc. as Assignee af

Judgment from Cityscape Corp. a/k/a Cityscape Mortgage Corp.(52804-11)

BY: /s/ Keith A. Bonchi
KEITH A, BONCHI, ESQ. (KAB3664)

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CHEROKEE SOLUTIONS, INC,

as Assignee of Judgment from : Hon. Katharine 8. Hayden, U.8.D.J.
Cityscape Corp. a/k/a Cityscape :
Mortgage Corp. : Civil Action No, 2:01-mc-00021-KSH
Plaintiff, :
Vv.
WALSH SECURITIES CORP. : CERTIFICATION OF COUNSEL
>: IN SUPPORT OF MOTION TO
Defendant, : CONFIRM MARSITALS SALE

KEITH A. BONCHI, ESQUIRE, hereby certifies:

1. On January 4, 2001 Cityscape Corp. obtained a judgment in the amount of
$4,732,568.93 against Walsh Securities, Corp., a/k/a Walsh Securities, Inc., in the U.S. District
Court, Southern District of New York (sce Exhibit “A” for copy of Judgment and Order).

2, At the time the above judgment was entered, Walsh Securities, Corp. owned the
real property located at 263-265 South 10" Street, Newark, New Jersey. Walsh Securities, Corp.

had acquired titled to this property via a Sheriff's Deed recorded October 7, 1998 (see Exhibit
Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 2 of 27 PagelD: 98

“RB” tor copy of Sheriff's Decd vesting title in Walsh Securities, Corp.).

3. The Judgment was registered in the U.S. District Court, District of New Jersey,
on February 15, 2001, and provided a miscellaneous number of 2:01-mc-00021(KSII).

4, As a result of the failure by Walsh Securities, Corp. to pay the taxes assessed to
the property located at 263-265 8. 10" Street, the City of Newark conducted an in rem
foreclosure of the property subsequent to the entry of the judgment,

5. By Order daled October 1, 2001, the City of Newark obtained Final Judgment in
the above referenced foreclosure. As a result of the Order Entering Final Judgment, the City of
Newark, was vested with title to the property located at 263-265 South 10" Street, Newark, New
Jersey (sce copy of Final Judgment attached hereto as Exhibit “C”).

6. Due to the City of Newark’s failure to provide notice of the foreclosure to the
judgment creditor, Cityscape Corp., the lien of Cityscape Corp. upon the property was not
extinguished by the in rem foreclosure and therefore remains a valid lien upon the real property.

7. On June 8, 2004, Cityscape Corp. assigned the Judgment to Cherokee Solutions,
Inc. (see copy of Assignment attached hereto as Exhibit “D”).

8. In furtherance of collecting on the Judgment, Cherokee Solutions, Inc., as the
Judgment holder, obtained a Writ of Execution against the property located at 263-265 South
10" Street, Newark, New Jersey,

9. On March 28, 2006, the United States Marshal held a public auction, at which
lime Cherokee Solutions, Inc. was the successful bidder with a $100.00 credit bid (see copy of
Process Receipt and Return from the U.S. Marshal’s Service, attached hercto as Exhibit “E”).

10. Cherokee Solutions, Inc. now seeks an Order confirming the Marshals Sale.
Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 3 of 27 PagelD: 99

11. | hereby certify that the foregoing statements made by me are true. I am aware
that if any of the foregoing statements made by me are willfully false that I am subject to
punishment.

GOLDENBERG, MACKLER, SAYEGH, MINTZ,
PFEFFER, BONCHI

BY: vo fo

KEITH A. BGNCHI, ESQUIRE

Dated: April j , 2006
Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 4 of 27 PagelD: 100

W qx

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
manne ee ne nee ee ananenneeaeiee nr eee en eee x res erie fe . ™,
CITYSCAPE CORP., — , ‘ LMC. pu i C Ly
Plainuff, 98 CIVIL 0223 (SHS)
CERTIFICATION OF JUDGMENT
. FOR REGISTRATION IN \
~apainsl- ANOTHER DISTRICT
. JUDGMENT #91,0012_
WALSH SECURITIES, ORIGIN AL FILED .
Defendant. fy
sri sneeceeccenrrnntnnentcaen x | anita:
__ ‘ihe
WILLIAM T. WALSH, CLERK

1, J. Michael McMahon, Clerk of this United States Distinct Court certify that the attached
is a true and correct copy of the judgment entered in this action on January 4, 200] as it appears in
the records of (his court, and that * no notice of appeal has been filed, and no motion of any kind
listed im Rule 4(a) of the Federal Rules of Appellate Procedure has been filed.

IN TESTIMONY WHEREOF, ] sign my name and affix the seal of this Court,on

jApril:23, 2004.

' (By) Deputy Clerk
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pjevsrec STATES DISTRICT COURT

Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 6 of 27 PagelD: 102

SQUTHERN DISTRICT OF NEW YORK

CITYSCAPE CORP.,

Plaintiff, "gu Civ. 223 (SHS)

v- JUDGMENT AND ORDER

WALSH SECURITIES CORP.,

#0! gor
Defendant. o

SIDNEY H. STEIN, U.S. District Judge.

Plaintiff Cityscape Corp. ("Cityscape") having moved

this Court on October 22, 1999 for partial’ summary judgment on

Cityscape's breach of cantract claim against defendant Walsh
Securities Corp.. ("Walsh") tor 3? loans {the "New Jersey
Loans") and

The Court having given due and careful consideration
to the matters at issue and having set forth its findings of

fact and cenclusions of law in Opinions dated June 8, 2000, and

October 70, 2000:

WHEREAS, this Court's Order dated June 6, 2000 granted
Cityscape partial summary judoment on Cityscape’'s claims
4
relating to the 32 New Jersey Loans;

WHEREAS, this Court's Orcer dated Octcher 20, 2000

denied Walsh's claim for an offset of Cityseape's damages;

A CERTIFIED COPY nee
= MICHAEL McMAHON, CLERE

ens a PR

~BEVUTY CLERR
Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 7 of 27 PagelD: 103

‘

WHEREAS, this Court's Order dated O¢tober 20, 2000

determined that Cittyscape's damages were $4,742,568.93;

IT IS HEARBY ORDERED AND ADJURGED as follows:

1. Cityscape is granted partial sumnary judgment on
its claim for breach of contract for the 32 New Jersey Loans;
Ze Catyscape'’s motion tor an order awarding damages
for the 32 New Jersey Loans is granted;
3. Cityscape is awarded damages in the amount of
$4,732,568.93;
4, Walsh is granted summary judgment on its motions

. to dismiss Cityscape's claims relating toa the Appraisal Variance

4

Loans;

5. Walsh's counterclaims are dismissed.
Dated: New York, New York

December. ——hfh§—

60 orDERED: I>|9!

sidney H. Stein, U.S.Dd.

80155400 1. p00

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oun TEE DOCIET ON jn ve O/

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Case 2:01-mc-000214-KSH. Document.49-1 Filed 04/12/06
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ARMANDO B. oi ITOURS
County of Mes. Skate of New o preaey

TM ALL PRRSONG TO WHOM THESE BREABNTS SHALL COME, oT witen THEY
MAY CONCRREN: I, ARMANDO B. FONTOURA, Sherif « - | Ugur oof
a6 ex, in the State of New Jersey, send dur ortie - :

WHEREAS, “on April 21, 21990 a certain Weir: Pacwlifon wi a
faved Gut of the Superior Court of New i! ay, davershind) ane]
delivered to me ARMANDO B. FONTOURA, thei A elidd hesng
eriff af the said County of Besex, and ch said Wrst in in
@ Words or the effeck following--: THA. TO SAY:

NEW JERSEY TO WIT: ‘THE SATE OF NEW Jr: TNE
E COUNTY OF RSSEX: GREETING:

mogl

SHGORTME OF

: oo
WHEREAS, on April 21, 1998, by a cerla , Judgement. ade pn
r Superiox Court of New Jersey, in a certain ceuse Hi eye 4 i

lepending wherein the plaintiff ia: wos 43
"WALSH SECURITIES, INC. . vie P
i A

and Lhe following named parties are defandante: ‘ ws

“SAMEBH (3, KHALIYM, SHARON C. KHALIYM

{was ordered and adjudged that certain mortgage premiacs with
Ehe appurtenances in the complaint, “and Amendment re Complaint
dn the gaid cauge particularly set forth and described charlie
Oway: The mortgaged premises are degeridhbed aa se! fachh Upeor
the RIDER ANNEXED HERETO AND MADE aA PART HEREOF.

J.

Together with all and singular and the rights, liberties,
privileges, hereditaments and appurtenances thareunto pelouding,
Or in any wise appertaining, and the yvevargionga and remainders,
fits, issnes, and profiks thereof, anid also all the eskhale,!
Hight, title, interest, use, property, claiw and demand of
dai Defendantr, of, in, to and out of Lhe same, he sold,
Pay and gatisty in the first place unte the plaintiff, the
Of $102,553.83, being the principal, advances, late charges
Wd interest secured by a certain mortgage dated Septomber 20,
§40 and given by Sameeh WY. Khaliym and gharon ¢. Khaliym |
epether with inkerest ak the contrack rate of 15% an HH 36
aing the principal sum in default (including advances, if amy)
Ton February 1, 199A ka April 21, 1998 and Lawful interest |
Hereafter on the Lotal sum due plaintift until the same he prea dat
ind satisfied and algo the costs of the aforesaid plainrift,
Pith interest thereon, and that for than purpose a Wri of
ecution ahould jasue, directed ko bhe Sheriff of the Sounky at
waex, commanding him ta make sale as aforesaid, and that chive
Tplua money ariging from such sale, if any there be, should he
Brought inte the said Court, subject to the further order of the
MourL, an by Lha said judgment remaining ag of record, in our
Wduperior Court of New Jerucy, ak Trenton, deth and may mere
Whiy appear,
AND WHEREAS, the costs of thea said Plainlitf have bolen
‘duly taxed at the following sum; $1,609.98
Therefore, you are hereby commanded, that you cage i,

Made of Lhe premiees aforesaid, by selling so mich of Lhy
ame as may be ri¢edful and necessary for Lhe purpose the sai
um of $202,533,83 and the same you do pay ta the said plain
foyether with lawful interegt thereon aa aforesaid, and the fsum
Moregaid of cost with interest thereon , and that you have) tha
furplus money, Af any thera be, hefare the said Superior Court

of New Jersey, aforcgaid, at ‘Trenton, within 40 days after
aalée. Tf no sale Writ, returnable within 12 months, #.4:99 Utz),
to abide the further order ef our said Court acgording to the
dudgment aforesaid. and you are to make return at the Cime lance
Place aforesaid, by certificate, under you hand, of the manner
dn which you shall have execuked this our Writ, together with
thia Writ.

COUNTY GF Esq

SOMBIDERATION. 2
REALTY TRANSFER FEF ale
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ay - "TITLE INSURANCE coMtiTARNT
4. :
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HP .
eat fCORRDULE A&A

3 '. HUME ER

” (COnINTED)

“DES@RIPTION

PYAH] that certain tract, lot ‘and arcel of land lying and betng in the
tty of Mewark County of Essex and State of Hew Jersey being More :
PACticular ly deserted as to] tows:

Br LRN AT A POINT It THE WESTERLY SIDELINE OF SOUTH 10TH STREET Salo
“POINT BEING OISTANT 325,00 FEET SOUTHERLY ALONG THE SANE FROG ITS
Ali THTERSECTION WITH THE SOUTHERLY STOELINE GE 197TH AVENUE TFORMEALY HANK
STREET AND G6 FEET WIDE) AND FROM SATO POTHT OF BEGINNENG RUNHING:

‘ALONG THE MESTENLY SUDELINE OF SOUTH 10TH STREET SOUTH 27 oEEREES
15 MINUTES WEST 50.00 FEET To A POINT: THENCE. .
 HORTH'G2 DEGREES 45 MINUTES VEST 100.00 FEET.TO A POINT: THENCE
NORTH 27 DEGREES 15 HIMITES EAST 50,00 FEET: TO A POINT: THERCE
SOUTH 62 DEGREES 45 HINUTES EAST 100.00 FEET. 10 THE POLNT AND
* "PLACE OF BEGINING, es

“TE ABOVE PREMISES 15 ALSO KAOMN AS LOT 18 1H BLOCK 1796 ON THE

4 BEET CTAL TAX HAP OF THE GITY OF HEWARK.” (REPORTED FOA™ FHFORMATION

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\iuige of Ge sapbedan aloe L KER Sou ao of ilGH 04/12/06. Page 11 of 27 Pag
7990, _ _ co

CRAVER, NELSON, SATKIN & SCHEER * Donald F.
Phelan - >:

Attorneys fox Plaintiff. . Cler: © Suparioaxs Court

NM. RICHARD SCHEER oo “ .

SanosdZ9SS x6

As by the record of the said Writ of Execution in the -:

ef the Clerk of the Superior Court of New Jersey in Book F £ F 43

Rxecutions, paga 6122 may more fully appear.

AND WHEREAS, I, the said ARMANDO &. FONTOURA, as such-Sheriff ae

aforesaid, did, in due form of law, advertise, tha sada lot of

hiand and premigas to be sold under and by virtue of cha said

Writ of Execution, at; public, auction, to be held at the Essex :

pCounty Couxte Building, in the City of Newark, on Tuesday, June , 2

30, 1996 at one-thirty o'clock (Prevailing Time} in the :

afternoon of that day. , : .

;BY public advertisements siqned by myself, and set up at two

public places in the gaid County of Eesex, one of which was in

the Office of the Sheriff of the County of Hasex, and ¢.2 other

where said real eatatea is situated, of the time. and pls

appointed for such sale, for at least threa weeks prece..ing the

‘time appointed for aaid sale, and publishing the same i. “The

Btar Ledgex* and "PORTUGESE POST” two of the newspapers printed

‘and published.in the said state, where the landa ahove described .

axe Situated, ‘the same being designated for the publication by : l

the laws of this State, and circulating in the County of said .

real estate, for at least once a week during four consecutive 3

calendar weeks, the first publication being at least twenty-one ' 1!

daye prior, and the last publication being mot more than eight

days priox to the tima so appointed for selling the aame, one of ti

which #aid newapapexrg to wit: "The Star Ledger" is printed and

Published at Wewark, the County seat of said County, i

at which last mentioned time and place I did accordingly offer

m and #xpose the said let of land and premises For sale at public :

“piketion under and by virtue of the said Writ of Execution. And it
Thereupon WALSH SECURITIES 4 CAMPUS DRIVE PARSIPPANY No o7054, 7 ye

m “id bid for che same the sum of ONE HUNDRED DOLLARS($100.00) , i
‘and ne other person bidding as much, i did then and there, | :

openly and publicly, in due form of law between the hours of

twalve and five in the afternoon, strike off and sell the said 4

lot of land and premises for the aum ef ONE HUNDRED

et DOLLARS ($100.00}, to the said WALSH SECURITIES, it being then

“and Ehere the highest bidder for the same. ‘ij

NOW, THEREFORE, KNOW YE, That I, the eaid ARMANDO B. FONTOURA, . :

1

ee pe ee a ee ee

my 28 eich Shariff as aforesaid, under, and by virtue of the said -
- Writ of Execution, and in execution af the power and trust in me : iy
raposed and alag for, and in congideration of the said sum of sy |.*
; ONE HUNDRED DOLLARS ($100.00); to me in hand, paid, the receipt i)
whereof I do herehy acknowledge, and therafrom acquit, exonerate j
and forever discharge tha said WALSH SECURITIES, its successors {
and assigns, have granted, haxgained, sold, assigned, . !
transferred and conveyed, and by these presents do grant,
bargain, aell, aspign, transfer and convey, unto the said WALSH
SECURITIES, ite® succesgora and assigns, all and singular, the
saad let of lands and premiaes, with the appurtenances,
privileges, and hareditaments thereto belonging ar in any way ' !
appertaining: TO HAVE AND HOLD the sate unite che aaid WALSH , I
“SECURITIES, its successors and assignee, to ite and their only ~ |
;
!

Proper use, beanafit and hehoof forever, in sa full, ample and
beneficial a manner aa by virtue of the’ said. Writ of Exacution, Qj
“Emay, can or ought to convey the same, 4d

And I, the said ARMANDO B. FONTOURA, for myself, my yok
heirs, axecutors and administrators, da hereby covenant, promige 2
and agrae to and with the said WALSH SECURITIES, ita successors -

and agaigne, that T have not, as auch Sheriff as aforesaid, done :
or caused, suffered or procured ta be dona, any act, matter or . t!
thing, whereby the egtate hereby intended to be conveyed in ahd “ i
te the aaid lot of land and premises, with the appurtenancaa, i

Case 2: O1- mc- -00021- KSH Document 49-1 Filed 04/12/06. Page 12 of 2@

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ig, may ot - “be changed, charged. encumbered, ol afeated in
any mannexs whatever.

ti WITNESS, WHEREOF, I, the said ARMANDO A, PONTOURA, AS
SUCH Sheriff as aforesaid, hava hereunts get my hand and aeal
this duly 10, 1998, Signed, Sealed and Delivered
in tha Presence of

MICHAEL J. OLIVET
Attorney at Law, ftate of New derney

NEW JERSEY, ESSEX COUNTY, 8s. a ‘

I, ARMANDO &. FONTOURS, sherigé. of the county aforesald,
do golemnly swear that the land and-real estate described in the
dead, made by ma to WALSH SECURITIES 4 CAMPUS DRIVE PARSIPPANY
NJ 07084 wag sold by me by virtue of a good and subsisting
execution, as ia Cherein recited, that ‘thea money ordered to be
paid has not. been, to my knowledge of balief, paid or satisfied,
that the time and place of sale of the eaaid land and real ‘aatate
waa by me duly advertised, as required by law, and that thea same
was cried off and sold to a bonafide purchaser for the best

prica that could beobtained.
LE FONTOURA

Sworn before me, one of the Aktorneys at Law of the
State of New Jersey, on July 10, 1998 and I having examined the
Deed above mentioned, do approve the same and order it ta he
recorded as a good and sufficient conveyance conaideration paid
for che kransfer of title to reality evidenced by within dead,
as auch consideration is defined in P.L. 1966, a. 44, Seo. 1,
(¢), if ONE HUNDRED DOLLARS (8100.90).
Prapared by ARMANDO B, FONTOURA, Sheriff of the County of Eagex,
State of New Jersey.

MI oo. OLIVETRA
Attorney at Law, State of NJ

Case 2:01-mc-00021-KSH Ree Sy ate Filed 04/12/06 Page 13 of 27 PagelD: &

DEED ‘ ‘ °
ARMANDO B. FONTOURA
. “eHERTIFF
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, ao .
WALSH SECURITIES —
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oe ts ' Bo
SHERIFF'S FILE NO. 98-010278 ni;
. * . a I
_ ,, Consideration $100.00 ' . 4
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Dated duly 10. 1998 *
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CRANKR, NHLSON, SATEIN & SCHEER |
A pRORURRIONAL COREEEATION . ¢
: Tad. BOK #67 ork
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at

JOANNE Y¥, WATSON, CORPORATION COUNSEL

BY: AYESHA FREEMAN, ASSISTANT CORPORATION COUN as

920 BROAD STREET, NEWARK, NEW JERSEY 07102 4

(973) 733-8715 ws -

ATTORNEY FOR THE PLAINTIFF, CITY OF NEWARK on
SUPERIOR COURT OF ™”
NEW JERSEY

CHANCERY DIVISION.
ESSEX COUNTY
DOCKET NO. F-13821-01

CITY OF NEWARK OF THE COUNTY
OF ESSEX, a Municipal Corporation
of the State of New Jersey,

Plaintiff, : CIVIL ACTION
Vs.
(201) OMITTED : FINAL JUDGMENT OF
IN REM TAX FORECLOSURE
(202) BLOCK 527, LOT 7
ADDRESS: 237 GARSIDE STREET

ASS'D OWNER (8S)
ALVES, ANTONIO & DEOLINDA

(203) OMITTED

(204) BLOCK 521, LOT 48
ADDRESS: 116 MT. PLEASANT AVE.

ASS'D. OWNER(S)
JAMES MOODY

(205) OMITTED

(206) OMITTED

+ 90 oan

(207) OMITTED

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(357) BLOCK 1796, LOT 18
ADDRESS: 263-265 SOUTH 10™ sT.

FORMER ASS‘'D OWNER(S)
WALSH SECURITIES

(358} BLOCK 1796, LOT 34
ADDRESS: 326 % SOUTH 11™ gsr,

FORMER ASS‘D OWNER(S)
WADE VAN & ANNIE T.

(359) BLOCK 1796, LOT 66
ADDRESS: 296-288 SOUTH 11™ sT.

FORMER ASS’D OWNER(S)
CULLER, HILDA M,

(360) BLOCK 1797, LOT 6
ADDRESS: 216 127™ AVE.

FORMER ASS'D OWENR (S)
LONON EDWARD

(361) BLOCK 1798, LOT 2
ADDRESS: 208 127" AVE

FORMER ASS’D OWNER(S)
FOGLIA, ROLAND J.

(362) BLOCK 1798, LOT 6
ADDRESS: 200 127" AVENUE

FORMER ASS‘'D OWNER(S)
B& & INVESTMENTS

(363) BLOCK 1799, LOT 40
ADDRESS: 224 SOUTH s™ st,

FORMER ASS’D OWNER(S)
OCWEN FEDERAL BANK

(364) OMITTED

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(392) BLOCK 1814, LOT 54
ADDRESS: 222 SOUTH 11™ s7.

FORMER ASS'D OWNER(S)
CLARK, MERLW & JOHN DOE

(393) BLOCK 1814, 74
ADDRESS: 205 SOUTH 10™ st.

FORMER ASS‘D OWNER(S)
MASTER ROLLER MFG. CORP.

(394) BLOCK 1814, LOT 78
ADDRESS: REAR 201 SOUTH 10™ sr.

FORMER ASS‘D OWNER(S)
MASTER ROLLER MFG. CORP.

he

(395) BLOCK 1814, LOT 83
ADDRESS: REAR 203 SOUTH 1o™ st.

FORMER ASS’D OWNER :
MASTER ROLLER MFG. CORP. :

(396) OMITTED
(397) OMITTED
(398) OMITTED
(399) OMITTED

(400) BLOCK 1818, LOT 14
ADDRESS: 261% SOUTH 18™ str.

FORMER ASS'D OWNER
FLOOD, LORETTA

Defendants. :
x

This cause being opened to the Court by JoAnne Y.
Watson, Corporation Counsel (Ayesha Freeman, Assistant

Corporation Counsel, appearing) attorney for plaintiff, City

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e 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 18 of 27 PagelD: 114

of Newark, and it appearing that plaintiff filed its
Complaint pursuant to R.S. 54:;5-104.29, as amended and
supplemented, and the rules of the Court governing such
practice and procedure to foreclose In Rem the lands as
shown in the Claims Schedule annexed hereto.

That notice is a form prescribed by said statute and
was published once in the Star-Ledger, a newspaper
circulating in the City of Newark, the municipality wherein
the lands to be affected are located, and it appearing that
no Answer has been filed in this cause by any person having
or claiming to have a right, title, or interest in or to, or
lien upon any parcel or land described in the Complaint
filed herein within the time fixed by said statute,
excepting these claims identified in the Notice of Severance
which is being filed simultaneously with this Judgment, and
it appearing that the plaintiff has filed a copy of the
Complaint filed herein upon any parcel or land described in
the Complaint, in the Office of the Tax Collector of the
City of Newark, and in the Office of the Register of the
County of Essex, and in the Office of the Attorney General
of the State of New Jersey, and the Court having read and
considered the Verified Complaint filed herein, together
with Proof of Publication, Mailing and Posting of said

Notice, and Affidavit showing that there has been no

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e 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 19 of 27 PagelD: 115

redemption of any of the tax sale certificates; and the
Court being satisfied and having determined that there hag
been compliance with said statute; Eps bar

IT IS THEREUPON ON THIS / DAY OF -HePPErBeR, 2001;

ORDERED AND ADJUDGED, that in pursuance of R.S.
54;5-104.29, as amended and supplemented, all persons having
a vested or contingent title or interest in or lien or claim
upon or against land more specifically identified in the
Schedule, attached hereto and made a part hereof, including
the State of New Jersey, and any agency and political
subdivision thereof, and their heirs, devisees, and personal
representatives and their or any of their heirs, devisees,
executors, administrators, grantees, assigns or successors
in right, title, or interest notwithstanding any infancy or
incompetency of such person or persons, and all other
persons, their heirs, devisees and personal representatives
and their or any of their heirs, devisees, executors,
administrators, grantees, assigns, or successors in the
right, title or interest, be barred on the right of
redemption and be foreclosed of all prior or subsequent
alienations and descents of said lands and encumbrances
thereon,
and that an absolute and indefeasible estate of inheritance

in

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fee simple in said lands be vested in the plaintiff, City of

Newark, a Municipal Corporation of the State of New Jersey.

Respectfully reconmendets
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355 1795/17 4931-760 Spruill Ellen L.
356 OMITTED
+ 357 1796/18 5562-483 Alsh Securities
358 1796/38 5756-56 Empire Mtg. Inc.
359 1796/66 4268-505 Culler, Hilda M.
360 1797/6 4492-291 Lonon, Edward
361 1798/2 5568-754 Foglia, Roland J.
362 1798/6 5505-261 B & § Investments
363 1799/40 5738-931 Ocwen Fin, Services Inc.
364 OMITTED
365 1799/49 Hicks, Robert
366 OMITTED
367 OMITTED
368 1810/48 4024-349 Daniels, Moses & Addie
369 1811/5 3150-366 Heslin Sr. Conrad & Ida
370 1811/20 5403-666 McGee, Nannerl
371 1811/41 5715-650 Homefinders Services
372 OMITTED
373 1812/39 Cioffi, Mary
374 1812/48 4934-167 Johnson, Betty
375 1812/38 5169-41 Johnson, Alfred & Betty
376 OMITTED

377 1813/17 5396-738 Russo, Frank
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Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 24 of 27 PagelD: 120
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. — , , Mayee , 2004

Nancy A. Washin
_ An Attomey ot Law of ~~
the State of New Jersey .

ASSIGNMENT OF JUDGMENT
.' FOR GOOD AND VALUABLE CONSIDERATION, the receipt and adequacy -

of which Is hereby acknowledged, CITYSCAPE CORP., a/k/a Cityscapes Mortgage
 (Corp., c/o AMC Financial, F.C. Box 4160, Waco, Texas 76714, (Assignor”) hereby

' grants, assigns, transfers and conveys bo CHEROKEE SOLUTIONS, INC., P.O. Box
6357, East Brunswick, N3 08816, its successors ‘and assigns (Assiqnee"}, without
recourse, all of its right, tithe and interest In and to that certain Judgment entered an
. January 3, 2001, by the United States District Court for the Southern District of New
.. York, In the action entitled Cityscape Coro, v, Walsh Securities Com, In Civil Action |
No. 98-0223(5H5), granting judgment In favor of plaintiff and against defendant In
the. amount of $4, 742,568. 93.

This Assignment of Judgment shall be binding on the parties and their
respective successors and assigns. :

. This Assignment of Judgment Is without recourse to assigner in any manner
. whatsoever, woe

| This Assignment of judgment Is made in accordance with and subject to the

terms of a certain Assignment Agreement between Assignor and Assignee dated as
of: May 2, 2004, |

+ eee ee ee oe eee wee wenn ee eee ne ee eee

oo. IN WITNESS WHEREOF, the undersigned has executed this Assignment of
judgment on this 24p*> day of May, 2004.

CITYSCAPE CORP,

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Thee Mere ns “aint Te: Peaba

Page 1 of 2

{00339485.D0C) Cityscape te Cherokee
Case 2:01-mc-00021-KSH Document 49-1 Filed 04/12/06 Page 25 of 27 PagelD: 121

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CORPORATE ACKNOWLEDGMENT
“STATE OF TEXAS Do

, : $.8.;
COUNTY OF. :

. Belt remembered, that on saz Zhe ay of May, 2004, before me, the
- subscriber, in and fer said county, personally appeared BILL N. GOSS whe, lam .
satisfied Is the person who assigned the within instrument as the PRESIDENT of
_ CTTYSCAPE CORP., a/k/a Cityscape Mortyage-Corp., and delivered the same ag such
_ officer aforesaid, and that the within Instrument fs the voluntary act and deed of
such assodation, made by. virtue of a Resolution of Its Board of Directors.

" Witnesseth my hard and seal. . oo, Q.. ,
3 mh a . . : ‘.

Notary Public

~ My commission expires:

To the Register or Clerk -* EITYSCAPE CorP.,
a/k/a Cityscape Mortgage Corp.,

Gounty of . to
CHEROKEE SOLUTIONS, INC.

Record and retuir to:

Nancy A, Washington, Esq.
SAIBER SCHLESINGER SATZ
& GOLDSTEIN, LLC

‘One Gateway Center

13" Floor

Newark, New Jersey. 07102,

{003594685.00C} Cityscape to Cherokee — — Page 2 of2
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U.S. Department of Justice

See Instructions for “Service of Process by the (2.8. Marshal”

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> ADDRESS (Street or RFD. Apartment No. City, State and 7iP Coe)
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SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW: Sumber at process to be
I served with this Form - 285

I .
j Number of parties to be
p served in this case

I Check for service

ron U.S.A.

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (laclude Rusiness and AKernate Addresses, All
Telephone Numbers, and Estimated Times Available For Servier): :

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Signature at Altomey or other Griginator requesting service on behalf of: C] PLAINTIET: TELEPHONE NUMBER = ~~ | DATE

[1 DEFENDANT

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Lacknowledge receipt for the total | Total Process} District District Signature of Authorized USMS Deputy or Clerk Date

number of process indicated. “> of Origin to Serve ‘ ;

(Sign only Girt USM 283 if more | ms ) i / \
than onc USM 285 is submitted) “ona New Ma Noo oD . _ eas . i x / t t

_ Uhereby certify and retum that [ [1] have personally served, L have legal evidence of service, FD have executed as shown in “Remarks”. the process deseribed
on the individual, company, corporation, elc., at the address shuwn above or on the individual, company, corporation, etc., shown al the address inserted below.

[1 1 hereby certify and retym that 1 am unable to locate the individual, company, corporation, ete., named above (See remarks below}

Name and title of individual served (Jf not shown above) _, A person of suitable age and dis-
(1) cretion then residing in the defendant's
usital place of abode.

Address (complete only if alfferent than shown above) Date of Services Time 3 io" am

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FORM USM-285 (Rev 12/15/60)

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_MAY BE USED 3.. NOTICE OF SERVICE
